The Honorable Matt Blunt Missouri Secretary of State James C. Kirkpatrick State Information Center 600 West Main Street Jefferson City, MO  65101
Dear Secretary Blunt:
On December 5, 2003, you submitted to us a summary statement for the petition submitted by Doug Burnett relating to the Education and Health Care Protection Amendment (constitutional version #1).  The summary statement, prepared pursuant to Section 116.334, RSMo 2000, is as follows:
  Shall the Missouri Constitution be amended to adopt an Education and Health Care Protection Amendment authorizing a temporary sales and use tax, the specific amount determined by the director of revenue not exceeding one cent per dollar, if the commissioner of administration certifies a fiscal emergency (when state revenue falls below adjusted amounts collected in 2001), proceeds to be deposited into an annually-audited trust fund used only for elementary and secondary education and for health care services for those enrolled in the state's Medicaid program, the amendment to be terminated in 2010, unless extended by vote of the people?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement.  Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                               JEREMIAH W. (JAY) NIXON Attorney General